                           Case 3:21-cv-01040-JAM Document 169 Filed 10/30/23 Page 1 of 1
                                                                                                                Civil- (Dec-2008)
                                                          HONORABLE: T. O. Farrish
                                   DEPUTY CLERK R. K. Wood           RPTR/ECRO/TAPE Court Smart
      TOTAL TIME:                   hours 27   minutes
                                      DATE:  10/30/23   START TIME: 10:35 a.m.     END TIME: 11:02 a.m.
                                                        LUNCH RECESS          FROM:                       TO:
                                                RECESS (if more than ½ hr)    FROM:                       TO:

      CIVIL NO. 3:21CV1040(JAM)


                    Clinger, et al.                                               M. Ryan Casey, G. Wade
                                                                                         Plaintiff’s Counsel
                                      vs
                    Edgewell Personal Care Brands, LLC.                           M. McCurdy, B. Levin
                                                                                         Defendant’s Counsel

                                                COURTROOM MINUTES- CIVIL

                               Motion hearing                     Show Cause Hearing
                               Evidentiary Hearing                Judgment Debtor Exam
                          ✔ Miscellaneous Hearing


          .....#          Motion                                                     granted      denied        advisement
           .....#         Motion                                                     granted      denied        advisement
           .....#         Motion                                                     granted      denied        advisement
           .....#         Motion                                                     granted      denied        advisement
           .....#         Motion                                                     granted      denied        advisement
          .....#          Motion                                                     granted      denied        advisement
          .....#          Motion                                                     granted      denied        advisement
          .....           Oral Motion                                                granted      denied        advisement
          .....           Oral Motion                                                granted      denied        advisement
          .....           Oral Motion                                                granted      denied        advisement
          .....           Oral Motion                                                granted      denied        advisement
          .....               Briefs(s) due               Proposed Findings due                Response due
          .............                                                                                filed    docketed
          .............                                                                                filed    docketed
          .............                                                                                filed    docketed
          .............                                                                                filed     docketed
          .............                                                                                filed    docketed
          .............                                                                                filed    docketed
          ............                          Hearing continued until                           at

Notes: Telephonic discovery conference was held.
